                                                Case:18-00176-swd              Doc #:17 Filed: 04/02/18              Page 1 of 1

                                                                                     Form 1                                                                             Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        18-00176 SWD                                                              Trustee: (420060)           John A. Porter, Trustee
Case Name:          PARKER, AMY JO                                                            Filed (f) or Converted (c): 01/18/18 (f)
                                                                                              §341(a) Meeting Date:       03/14/18
Period Ending:      04/02/18                                                                  Claims Bar Date:

                                 1                                         2                         3                          4                  5                    6

                       Asset Description                               Petition/             Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1       2013 Chevrolet Impala                                             6,000.00                           0.00                                      0.00                   FA

 2       Clothes                                                               200.00                         0.00                                      0.00                   FA

 3       Lansing Automakers FCU                                                  1.00                         1.00                                      0.00                 1.00

 4       Lake Trust Credit Union                                                 0.00                         0.00                                      0.00                   FA
           This asset listed in Debtor's Schedules as having a
         negative value of $22.00(overdrawn by $22.00) This has
         no value to the estate.

 5       VOVA 401K Plan                                                    1,500.00                           0.00                                      0.00                   FA

 6       CLAIMS AGAINST THIRD PARTIES(suit v Fed Gov't)                   Unknown                        75,000.00                                      0.00            75,000.00

 6       Assets          Totals (Excluding unknown values)                $7,701.00                   $75,001.00                                       $0.00          $75,001.00


     Major Activities Affecting Case Closing:
             Response to Questions re claim v Federal Gov't. and determine value..
             03/26/18 quarterly review completed.

     Initial Projected Date Of Final Report (TFR): June 1, 2019                           Current Projected Date Of Final Report (TFR): June 1, 2019




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